             In the
        Court of Appeals
Second Appellate District of Texas
         at Fort Worth
     ___________________________

          No. 02-23-00223-CR
     ___________________________

  ANNA MARIE JENNINGS, Appellant

                    V.

         THE STATE OF TEXAS


  On Appeal from the 235th District Court
          Cooke County, Texas
      Trial Court No. CR 22-00113


  Before Kerr, Birdwell, and Womack, JJ.
 Memorandum Opinion by Justice Womack
                            MEMORANDUM OPINION

                                   I. INTRODUCTION

          Appellant Anna Marie Jennings was convicted by a jury of intentionally or

knowingly possessing four grams or more (but less than 200 grams) of

methamphetamine. Jennings pleaded true to an enhancement count, and the jury

assessed a punishment of twenty-seven years in prison. Jennings appeals, raising two

points. We will affirm.

                                   II. BACKGROUND

          While working in Cooke County in November 2021, Texas Highway Patrol

Trooper Patrick Richardson noticed a car being driven recklessly and above the speed

limit, with the driver following too closely to the car in front and changing lanes when

it was unsafe to do so. He pulled the car over and later identified Jennings as the

driver.

          As Trooper Richardson walked to the car’s passenger-side window, he noticed

a container of alcohol inside the car. He also smelled both marijuana and alcoholic-

beverage odors coming from the car. Noticing that Jennings was acting nervously and

suspecting that she may have been drinking, Trooper Richardson had Jennings get out

of the car. After she got out, Trooper Richardson determined that she was not

intoxicated, but he recognized the odor of methamphetamine coming from her body.

          Trooper Richardson determined that Jennings had been driving with an invalid

license, and he decided to arrest her for that offense. According to him, Jennings’s

                                            2
license was “suspended due to multiple different reasons, including DWLI, previous

stuff, surcharges. The list was pretty extensive.” Trooper Richardson then began to

search Jennings’s car, including her purse (which was still inside and visible).1 In the

purse, he found an Altoids container which, in turn, contained a “white crystal

substance” that Richardson believed was methamphetamine. Richardson also found a

glass pipe that he believed was used to smoke methamphetamine. Finally, a search of

the car’s trunk revealed a small bag of marijuana. Laboratory testing later confirmed

that Trooper Richardson had found 4.48 grams of methamphetamine in Jennings’s

purse.

                                    III. DISCUSSION

A. Restriction on Voir Dire

         In her first point, Jennings complains that the trial court improperly prevented

her from asking a question of a veniremember. As we explain below, although we do

not agree that the trial court abused its discretion in prohibiting her question, even if it

had, she could not have suffered harm from the restriction.

         While questioning the venire panel, defense counsel attempted to gauge how

much the panel agreed or disagreed with the following statement: “Eleven out of 12

jurors want to convict a client. Should—should he be found guilty?” The State

objected that the question was “improper” and “a misstatement of the law.” The trial


         Jennings told Trooper Richardson that the purse belonged to her.
         1




                                             3
court sustained the State’s objection. On appeal, Jennings argues that her due process

rights were violated by her inability to pose the question—specifically, she claims that

she “must be able to discover those persons who may have a bias or prejudice toward

just following the rest of the group.”

      The trial court has broad discretion over the process of selecting a jury. Allridge

v. State, 762 S.W.2d 146, 167 (Tex. Crim. App. 1988). The main reason for this broad

discretion is that questioning of the panel could go on ad infinitum without

reasonable limits. Faulder v. State, 745 S.W.2d 327, 334 (Tex. Crim. App. 1987). We

leave to the trial court’s discretion the propriety of a particular question, and we will

not disturb the trial court’s decision absent an abuse of discretion.            Allridge,

762 S.W.2d at 163. A trial court’s discretion is abused only when a proper question

about a proper area of inquiry is prohibited. Barajas v. State, 93 S.W.3d 36, 38 (Tex.

Crim. App. 2002).

      A question is proper if it seeks to discover a juror’s views on an issue applicable

to the case. Samaripas v. State, 454 S.W.3d 1, 5 (Tex. Crim. App. 2014). But a voir dire

question that is so vague or broad in nature as to constitute a global fishing expedition

is not proper and may be prohibited by the trial judge. Barajas, 95 S.W.3d at 39.

      Here, Jennings’s question was vague and misleading. In her brief, Jennings

claims that she was trying to test the veniremembers’ attitudes toward “following the

pack and not the law,” but this interpretation is far from obvious. While it is possible

that defense counsel was simply testing the panel’s knowledge regarding whether a

                                           4
unanimous verdict was required for conviction or even trying to determine whether

the veniremembers understood the word “unanimous,” Jennings failed to explain any

of this to the trial court or attempt to rephrase the question. See Hernandez v. State,

390 S.W.3d 310, 315 (Tex. Crim. App. 2012) (“Where the trial court does not place an

absolute limitation on the substance of an appellant’s voir dire question, but merely

limits a question due to its form, the appellant must attempt to rephrase the question

or risk waiver of the alleged voir dire restriction.”); see also Tex. R. App. P. 33.1(a)(1).

       In any event, relying on Jennings’s appellate argument, what she called a

hypothetical question appears to be an attempt to commit the veniremembers to a

reaction to a specific set of facts—in effect, what would you do if you were the lone

holdout in deliberations? This would be improper. See Standefer v. State, 59 S.W.3d

177, 182 (Tex. Crim. App. 2001); cf. Russell v. State, 79 So. 3d 529, 542–43 (Miss. Ct.

App. 2011) (holding, under Mississippi law, that asking veniremembers if they would

“merely . . . go along with the majority” in deliberations was improper demand for

pledge to vote a certain way if a certain set of circumstances were shown). Nor would

the question necessarily help determine if a particular veniremember was subject to a

challenge for cause. See Orange v. State, 173 S.W. 297, 298 (Tex. Crim. App. 1915)

(holding that veniremember’s answer that he “might” change his opinion and vote

guilty if the eleven other jurors were for conviction did not make him challengeable

for cause).



                                              5
      Even if Jennings’s proposed question had been proper, however, she could not

have suffered harm from the trial court’s refusal to let her ask it. Generally, an

improper restriction on a defendant’s voir dire is considered nonconstitutional error,

and we conduct a harm analysis in accordance with Texas Rule of Appellate

Procedure 44.2(b). See Easley v. State, 424 S.W.3d 535, 536 n.4 (Tex. Crim. App. 2014);

see also Tex. R. App. P. 44.2(b) (“Any other error, defect, irregularity, or variance that

does not affect substantial rights must be disregarded.”). An appellate court should

examine the whole record when conducting a harm analysis, including any testimony

or physical evidence, the trial court’s instructions to the jury, the State’s theory, any

defensive theories, closing arguments, voir dire, and whether the State emphasized the

error. Easley, 424 S.W.3d at 542 (citing Rich v. State, 160 S.W.3d 575, 577–78 (Tex.

Crim. App. 2005)).

      The basis of Jennings’s complaint is that she was unable to ask the

veniremembers about their commitment to unanimity. But the panel’s understanding

that all members of the jury would have to agree to convict was never in doubt. The

trial court explained to the panel at the outset that a defendant cannot be found guilty

until “the 12 members of the jury return a verdict of guilty, a unanimous verdict.” In

her instructions to the jury after it had been sworn, the judge again told them, “As you

have heard, that it takes a unanimous [sic], which means a decision of all 12. You

have to have all 12 agree on your verdict.” Following closing arguments, she again

explained that “unanimously” meant “all 12 must agree.”           The jury instructions

                                            6
themselves made clear that they should arrive at a unanimous verdict. Finally, upon

the jury’s having delivered its verdict, the trial court confirmed with the foreman in

open court that the verdict was indeed unanimous.

      The trial court’s refusal to let Jennings ask the panel an ambiguous question

about unanimity could have in no way affected the jury’s ability to reach a unanimous

verdict, and she therefore could not have been harmed by the restriction. See Barragan

v. State, No. 10-15-00079-CR, 2016 WL 1274734, at *2 (Tex. App.—Waco Mar. 31,

2016, pet. ref’d) (mem. op., not designated for publication) (holding trial court’s

erroneous prohibition on defense counsel’s explaining differences in burden of proof

was harmless where jury was repeatedly told in court’s charge and the parties’

argument that it was the State’s burden to prove guilt beyond a reasonable doubt).

We overrule her first point.

B. Jennings Was Not Entitled to an Article 38.23 Instruction

      In her second point, Jennings complains that the jury charge wrongly omitted

an instruction to disregard evidence discovered as the result of an illegal search.2

Because no dispute in the testimony justified the inclusion of such an instruction, we

overrule Jennings’s point.




      2
       Jennings identifies the alleged charge error as “failing to charge on a lesser
included offense,” but her actual briefing clarifies her search-and-seizure argument.


                                          7
      1. Trooper Richardson’s Testimony

      At trial, Trooper Richardson testified that he could smell marijuana in

Jennings’s car as he approached her open passenger window. He described it as a

very distinct odor. In Trooper Richardson’s opinion, the odor of marijuana provided

him with adequate probable cause to search the car. During his search, Trooper

Richardson discovered (in addition to the methamphetamine that he found in

Jennings’s purse) a bag of marijuana in the trunk. He did not find any marijuana in

the passenger area of the car.

      Jennings did not object or request an Article 38.23 instruction during Trooper

Richardson’s testimony, but she argued to the jury (over the State’s objection) that

Trooper Richardson did not really smell marijuana and that his subsequent search of

Jennings’s car was unlawful. On appeal, Jennings clarifies this argument, claiming that

Richardson could not have smelled marijuana in the car because marijuana was

ultimately found only in the trunk, and that the jury should have been instructed to

disregard this illegally-obtained evidence.

      2. Instructions under Article 38.23(a)

      Article 38.23(a) provides that no evidence obtained by an officer or other

person in violation of the laws or constitutions of Texas or the United States shall be

admitted in evidence against the accused on the trial of any criminal case. Tex. Code

Crim. Proc. Ann. art. 38.23(a). When there is an issue as to whether evidence was

obtained by such a violation, the jury shall be instructed that if it believes, or has a

                                              8
reasonable doubt, that the evidence was obtained by such a violation, then it shall

disregard any such evidence. Id. A defendant’s right to the submission of a jury

instruction under Article 38.23(a) is limited to disputed issues of fact that are material

to the defendant’s claim of a constitutional or statutory violation that would render

evidence inadmissible. Madden v. State, 242 S.W.3d 504, 509–10 (Tex. Crim. App.

2007).

         To be entitled to an Article 38.23(a) instruction, a defendant must show that

(1) the evidence heard by the jury raised an issue of fact, (2) the fact was contested by

affirmative evidence at trial, and (3) the fact is material to the lawfulness of the

challenged conduct in obtaining the evidence. Id. at 510. When these elements are

not met, a trial court is not required to include an Article 38.23(a) instruction. Id.; see

Shpikula v. State, 68 S.W.3d 212, 217 (Tex. App.—Houston [1st Dist.] 2002, pet. ref’d)

(holding trial court did not err in refusing Article 38.23(a) instruction when defendant

did not present affirmative evidence raising an issue of material fact).

         3. Marijuana Odor and Probable Cause

         The automobile exception to the warrant requirement permits police officers to

conduct a warrantless search of a vehicle if it is “readily mobile and there is probable

cause to believe that it contains contraband.” Keehn v. State, 279 S.W.3d 330, 335 (Tex.

Crim. App. 2009). Probable cause exists when there is a “fair probability” of finding

inculpatory evidence at the location being searched. Neal v. State, 256 S.W.3d 264, 282

(Tex. Crim. App. 2008). The smell of marijuana alone is sufficient to constitute

                                            9
probable cause to search a defendant’s person, vehicle, or objects within the vehicle.

Small v. State, 977 S.W.2d 771, 774–75 (Tex. App.—Fort Worth 1998, no pet.); see

Luera v. State, 561 S.W.2d 497, 498 (Tex. Crim. App. 1978) (“[P]robable cause existed

when the odor of marihuana was discovered.”). Probable cause can exist based solely

on the smell of marijuana even when marijuana is later not discovered during the

search. See Robinson v. State, No. 01-10-00727-CR, 2012 WL 1454451, at *4 (Tex.

App.—Houston [1st Dist.] Apr. 26, 2012, pet. ref’d) (mem. op., not designated for

publication) (“[T]he discovery of marijuana is not necessary for a trial court to find

that an officer had probable cause to search a vehicle based on the odor of

marijuana.”); Williams v. State, No. 14-01-01250-CR, 2002 WL 31426293, at *2 (Tex.

App.—Houston [14th Dist.] Oct. 10, 2002, no pet.) (not designated for publication)

(noting that “[a]lthough no marijuana was found, Deputy Palermo smelled marijuana

emanating from the car,” which provided probable cause to search it).

      4. Analysis

      Here, there was no dispute in the evidence that required a jury instruction.

Trooper Richardson testified that he smelled marijuana emanating from the interior of

Jennings’s car. He did not waver on this point. Trooper Richardson found marijuana

in the trunk, and when asked whether an odor from marijuana stored in the trunk

could “permeate an entire vehicle,” he answered, “Absolutely.”

      On cross-examination, defense counsel questioned whether Trooper

Richardson found marijuana in the passenger compartment of Jennings’s car.

                                         10
Trooper Richardson said he did not find any there, but he did find it in the trunk.

When questioned how he could have smelled marijuana “in the interior of the car,”

Trooper Richardson answered that it would not be uncommon for the distinctive

odor of marijuana in the trunk of a car to drift into the passenger area where it could

be detected. When defense counsel accused Trooper Richardson of never having

smelled marijuana, Trooper Richardson simply answered that counsel was “incorrect.”

      There must be a “disputed, material issue of fact” to justify an Article 38.23(a)

instruction. See Robison v. State, 377 S.W.3d 712, 719 (Tex. Crim. App. 2012). Here,

Jennings’s accusation on cross-examination that Trooper Richardson was lying did

not create a factual dispute. See Madden, 242 S.W.3d at 514 (“The cross-examiner

cannot create a factual dispute for purposes of an Article 38.23(a) instruction merely

by his questions.”). Further, the only issue to be resolved in determining the propriety

of submitting an Article 38.23(a) instruction to the jury was whether Trooper

Richardson smelled marijuana at all. The question of the absence of marijuana in the

passenger compartment of Jennings’s car is irrelevant to that issue—particularly when

there was marijuana in the trunk. See Bogan v. State, No. 02-15-00354-CR, 2016 WL

1163725, at *4 (Tex. App.—Fort Worth Mar. 24, 2016, pet. ref’d) (mem. op., not

designated for publication) (holding that fact officer failed to find marijuana in

defendant’s car is not affirmative evidence that officer did not smell marijuana);

Broussard v. State, 434 S.W.3d 828, 834 (Tex. App.—Houston [14th Dist.] 2014, pet.

ref’d) (holding that fact that cigar suspected of smelling like marijuana did not have

                                          11
that odor was not affirmative evidence that the officers failed to smell marijuana

emanating from suspect’s car). Because there was no affirmative evidence disputing

Trooper Richardson’s testimony that he smelled marijuana coming from Jennings’s

car, the trial court did not err in failing to include an Article 38.23(a) instruction in the

court’s charge.3 We overrule Jennings’s second point.

                                    IV. CONCLUSION

       Having overruled both of Jennings’s points, we affirm the trial court’s

judgment.

                                                         /s/ Dana Womack

                                                         Dana Womack
                                                         Justice

Do Not Publish
Tex. R. App. P. 47.2(b)

Delivered: August 22, 2024


       3
         In addition, a different and completely undisputed fact provided an
independent basis to justify Trooper Richardson’s search of Jennings’s car: Trooper
Richardson had already determined that he would arrest Jennings for driving with an
invalid license. An arrest of Jennings for that offense justified an inventory search of
her car. See Colorado v. Bertine, 479 U.S. 367, 371, 107 S. Ct. 738, 741 (1987) (holding
that inventory search of impounded automobile is a reasonable search under the
Fourth Amendment). Trooper Richardson testified that his “department requires
[state troopers] to do an inventory of that vehicle” when he “arrest[s] an individual in
a vehicle that they’re responsible for.” This “insures that what’s in that vehicle stays
in the vehicle through the whole process all the way up until she gets it back.”
Therefore, even if Jennings had been able to present affirmative evidence that
Richardson did not smell marijuana, that “dispute” would not be material to the
ultimate admissibility of the evidence. See Madden, 242 S.W.3d at 510–11.


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